Case 3:17-cv-00072-NKM-JCH Document 795 Filed 07/07/20 Page 1 of 5 Pageid#: 11752




  R ichard Spencer
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                               FOR THE W ESTERN DISTRICT OF V IRG INIA
                                          Charlottesville D ivision

        ELIZABETH SINES eta1.,
             Plaintiffs,                                                 CivilAction N o.3:17-cv-00072

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        JA SON K ESSLER etal.,                                           By:       JoelC.H oppe
              D efendants.                                                         United StatesM agiskate Judge
                           .                    -   - -   .-.   - '- .         .              ''   -'' R <       - -'' ;''     ''- - '<-- - -'
           -'Tltis'ifiàtierisBeforetheCourtonamdtionfiledbyJolm DiNucci,Vsq.,iowltidraw as
        counselofrecordforDefendantllichardSpencer.ECFNo.727.Mr.Spenceropposéstlke
                                                                                                                       '
                                                                                                             .
        m otion.ECF N o.756.1The Courtheld telephonic hearingson M ay 29 and June 11, 2020,at

    which M T.DiNucciand counselforthe Plaintiffs appeared.M r.Spencer also appeared atthe

    June 11hearing.M r.Spencer asked forone additionalweek to develop apaym entplan forhis

    attorney's approval.On June 18,M r.D iN ucciinform ed the Courtthathe standsby his m otion to
    '

    w ithdraw ascounsel.Forthe reasonsexplained on the record the June 11healing,the Cotu'tfinds
                                                                                       ?
    M r.DiN uccihas show n good cause to withtlraw from representing M 1'.Spencerin tlaism atter.

    SeeW .D.Va.Gen.R.6(i);OrderofJune4,2020,at2-3(citingVa.R.ProflCondu'
                                                                       ct1.16(b)),
    ECFNo.754.
             ,Pls.'Supp'1Resp.2-4,ECFNo.772.Accordingly,Mr.DiNucci'smoi
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    ascounselofrecord forD efendantRichard Spencer.

               M r.Spencer'sm otion to utilizethe Court'sCase M anagem ent/Electronic Caje Filing

    C<CM/ECF'')System,ECFNo.757,isG                         TED ontheconditionthathecomplieswiththe
                                                                                                                        i

    I0n June 18,2020,Mr.Spencersentanemailtotheundersigned'schambersemailaddressregardinjMr.
    DiN ucci'smotion to withdraw.The em ailreferencesM r.Spencer'sfinancialsituation and,thus,should be treated
    confidentially.SeeFed.R.Civ.P.26(c).TheCourt,however,disapprovesofMr.Spenceremailingdocuments,such
    asabliefin opposition,thatshouldbefiledw iththeClerk'sOffice.M oreover,theCoul'twillnotalloW exparte
    com municationsabsentaproperly filed motion requesting such relief.Accordingly,underLocalRule'9,the Court
    willdirecttheClerk'sOfficetodocketM r.Spencer'semailundersealsothatonlycaseparticipantslzay view the
    em ail.                                                                                                               '
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Case 3:17-cv-00072-NKM-JCH Document 795 Filed 07/07/20 Page 3 of 5 Pageid#: 11754
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    Court'sregistration procedures.M r.Spencerm ay file docum entsin tlzism attertluoùgh CM /ECF
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    whileheisrepresentinghimself.Unlessandtmtilnew counselentersanappearanceh
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    Spencer'sbehalf,he is solely responsible forconducting his defense in accordance with a11nzles,

    courtorders,and deadlines in thiscase.IfM r.Spencerchooses to retain new counsel,the

    attorney m ustbe adm itted to practice in the 1'
                                                   Jnited StatesDistrictCourtfortheW estem D istrict
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    ofVirginiabeforehe orshe m ay entera notice ofappearance in thism atter.W .D .V >.G en.R .

    6@V(d)-'(i). '
           N eitherthe trialdate nor any deadlinew illbe continued because ofthe ar
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    m otion to withdraw .

           Itisso OkDERED.

           The Clerk ofCourtisdirected to send a copy ofthis Orderto the parties.

                                                        EN TER:June 22,2020

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                                                        JoelC.H oppe
                                                        U .S.M agistrate Judge
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